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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 07-cr-151-PB

Yajaira Rosario



                               O R D E R

     The defendant, through counsel, has moved to continue the

February 5, 2008 trial in the above case, citing the need for

additional time to engage in plea negotiations or prepare for

trial.    The government does not object to a continuance of the

trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from February 5, 2007 to June 3, 2008.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial
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      The January 30, 2008 final pretrial conference is continued

to May 22, 2008 at 3:45 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

January 28, 2008

cc:   Terry Ollila, AUSA
      Bjorn Lange, Esq.
      United States Probation
      United States Marshal




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